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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                       :
                                               :
         v.                                    :       DOCKET NO. 1:19-cr-00397-4
                                               :
THI VAN HO                                     :       HONORABLE JAMES K. BREDAR

                                 SENTENCING MEMORANDUM

         Defendant, Thi Van Ho, is scheduled for sentencing on January 29, 2021 on Count 1

(conspiracy; 18 U.S.C. §371) and Count 10 (interstate transportation of stolen property; 18

U.S.C. §2314). This memorandum is being submitted on behalf of the Defendant prior to the

imposition of sentence. 18 U.S. Code §3553(a) sets out the factors to be considered by this

Court.

         (1)      History and Characteristics of the Defendant

         Mr. Ho is fifty years old and has never been arrested in his life. Mr. Ho has a compelling

personal history. When just a child of five years the Communist regime of Vietnam kidnaped his

father, burnt his house down and subjected Mr. Ho and his family to an “education” camp. Mr.

Ho’s father eventually died in the custody of the Communists. Mr. Ho’s mother engineered an

escape with Mr. Ho and his younger sister on a fishing boat with twenty other people. This boat

was at sea for nine days until rescued by a Taiwanese ship. The next eighteen months were in an

army camp with eventual sponsorship for a move to the United States in 1979 when Mr. Ho was

nine years old.

         Upon arrival in the United States the family obviously struggled. Mr. Ho worked at a

very young age picking crops and working in a poultry factory.
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       Despite these extraordinary difficulties and struggles, Mr. Ho graduated from a very good

high school in Philadelphia – Central High School in 1988 and graduated from Drexel University

in 1992 (engineering) and has continued his education at the University of Maryland and many

different technical courses.

       Mr. Ho is a stable married man raising four daughters. The success and determination of

Mr. Ho’s children is certainly a reflection of the character of Mr. Ho. His eldest daughter

graduated Georgia Tech and is an electrical engineer with Boeing. His second eldest is a biology

major at University of Delaware and the two youngest are in school and live at home.

       Mr. Ho is a religious man, attending both Buddhist and Catholic services. Mr. Ho

volunteers at food banks and takes care of the needs of his aged mother.

       In summary, this history and character of Mr. Ho shows an incredibly difficult childhood

that I don’t think any of us can truly appreciate the trauma and struggle but yet he overcame and

became a very educated, employed family man who, but for this aberrant incident before the

Court, is a man of substantial character.

       Attached to this memorandum are nine different letters from all walks of life attesting to a

substantial history and character of Mr. Ho.

       The difficulties and struggles of Mr. Ho in his childhood are truly exceptional. These

circumstances suggest a potential departure downward pursuant to §5K2.0(a)(3)(4) regarding

exceptional circumstances to a degree not adequately taken into consideration by the Guidelines.

Although the conduct, due to the planning component, technically may not fall within §5K2.20

(aberrant behavior) it still is a situation where the conduct represents a marked deviation by the

Defendant from an otherwise law abiding life.


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       (2)     The Nature and Circumstance of the Offense

       The crime is obviously significant however, it clearly involves no violence or threat of

violence and the loss, although substantial, is purely economic.

               (A)     The Seriousness of the Offense, Promoting Respect for the Law and
                       Provide a Just Punishment

       Substantial theft is serious, significant and worthy of punishment. Any period of

incarceration for a fifty year old man with four children and no record promotes respect for the

law. Deprivation of freedom and separation from family for any period of time promotes

sufficient respect for the law

               (B)     To Avoid Adequate Deterrence

       The goal of deterrence is obviously for someone similarly situated to look at the conduct

of Mr. Ho and choose not to engage in similar conduct. Deprivation of liberty for even a couple

of years sends a strong message to anyone else in the community. Arithmetic deterrence is

simply a false concept not born out by reality or common sense. Lengthy incarcerations have

been proven over and over again to an ineffective way to deter crime.

               (C)     Protect Public from Further Crimes of Defendant

       As stated earlier, the criminal event in the instant case appears to be completely out of

character for Mr. Ho based on his fifty year history. This is certainly not a pattern and the

likelihood of recidivism for Mr. Ho is extraordinarily low.

               (D)     Need for Education, Vocational and Medical Treatment

       Based on Mr. Ho’s history there simply are no educational or vocational needs.

Medically Mr. Ho has recently been treated for certain unknown cardiac incidents by Alfieri



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Cardiology. So far nothing concrete has been diagnosed but a fourteen-day halter monitor is

being suggested to check on dysrhythmias. The potential concern is heart issues and being

placed in a federal prison, a COVID-19 nightmare, and how it may manifest itself in Mr. Ho.

                                   Acceptance of Responsibility

       The Defendant has pled guilty and admitted his wrongdoing. This factor has been

addressed in the guideline calculation but it is believed this Court should have the benefit prior to

imposition of sentence of Mr. Ho’s thoughts about his conduct and its ramifications. (See

attached letter from Mr. Ho).

                                            Conclusion

       Before the Court for sentencing is a fifty year old man who has overcome amazing

adversity in his life to become an educated family man who prior to this event never been in

trouble with the law. Mr. Ho is tremendously remorseful and recidivism is highly unlikely.


                                              Respectfully submitted,



Date: January 15, 2021                        /s/ Jack McMahon
                                              Jack McMahon
                                              Attorney for Thi Van Ho




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                               CERTIFICATE OF SERVICE

     The undersigned hereby certify that on this date a copy of the foregoing Sentencing
Memorandum was served by way of the Court’s electronic case filing system upon the following:

Kathleen O. Gavin, AUSA
Office of the United States Attorney
36 South Charles Street, Fourth Floor
Baltimore, MD 21201



Date: January 15, 2021                            /s/ Jack McMahon
                                                  Jack McMahon
